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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ROBERT BRINING,                               :
                                                  :
                         Plaintiff,               :
                                                  :            CIVIL ACTION
                 v.                               :
                                                  :            NO. 17-4135
    WHYY, INC. et al.,                            :
                                                  :
                         Defendants.              :

                                            ORDER

         AND NOW, this __6th__ day of February, 2017, the Court having been advised that the

parties in the above-captioned matter have reached a settlement, IT IS HEREBY ORDERED

AND DECREED that this matter is DISMISSED WITH PREJUDICE, without costs,

pursuant to the agreement of counsel and Local Rule 41.1(b). 1




                                                             BY THE COURT:

                                                             /s/ Petrese B. Tucker
                                                             ____________________________
                                                             Hon. Petrese B. Tucker, U.S.D.J.




1
  Local Rule 41.1(b) states that “[w]henever in any civil action counsel shall notify the Clerk or
the judge to whom the action is assigned that the issues between the parties have been settled, the
Clerk shall, upon order of the judge to whom the case is assigned, enter an order dismissing the
action with prejudice, without costs, pursuant to the agreement of counsel.”
